        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 1 of 25




 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND SEARCH WARRANT

       I, TERRENCE DUPONT, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I have been a Special Agent with the Federal Bureau of Investigation (“FBI”) since

April 2013. I am currently assigned to the Economic Crimes squad with the Boston Division of

the FBI. Prior to this assignment, I spent two years on the Health Care Fraud squad and four and

a half years on the Philadelphia Division’s Public Corruption squad. During my time in the FBI,

I have participated in investigations relating to mail and wire fraud, money laundering, and

aggravated identity theft. I have also been the affiant on numerous complaint and search warrant

applications.

       2.       I am currently investigating WEMERSON DUTRA AGUIAR for various federal

crimes, including mail fraud, wire fraud, and conspiracy to commit those crimes, in violation of

Title 18, United States Code, Sections1341, 1343 and 1349, respectively; aggravated identity theft,

in violation of Title 18, United States Code, Section 1028A; and money laundering and conspiracy

to commit money laundering, in violation of Title 18, United States Code, Sections 1956 and 1957

(collectively, the “TARGET OFFENSES”).

       3.       I make this affidavit in support of a criminal complaint charging WEMERSON

DUTRA AGUIAR with conspiracy to commit wire fraud, in violation of Title 18, United States

Code, Section 1349. As set forth below, I have probable cause to believe that AGUIAR conspired

with others known and unknown: (1) to open driver accounts with various rideshare and delivery

service companies using stolen identities and/or falsified documents and (2) to make money by

renting or selling those fraudulent accounts to individual drivers who might not otherwise qualify

to drive for those services, and by exploiting referral bonus programs offered by the companies.
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 2 of 25




       4.     I also make this affidavit in support of an application for a search warrant for the

carry-on bag located in AGUIAR’s possession when special agents from the FBI arrested

AGUIAR on May 5, 2021 (the “Premises”), including but not limited to the mobile phone assigned

number 857-231-3814, used by AGUIAR, for which Sprint is the service provider (the “AGUIAR

TELEPHONE”) and laptop located in the Premises, as described in Attachment A, because there

is probable cause to believe that it contains the fruits, evidence, and instrumentalities of the

TARGET OFFENSES, as described in Attachment B.

       5.     The facts in this affidavit come from my personal observations, my training and

experience, information obtained from other agents and witnesses, and my review of documents—

including bank records, text messages and “chats” between the defendant and his co-conspirators,

and other materials obtained through legal process and Court-authorized search warrants. This

affidavit is intended to show simply that there is sufficient probable cause for the requested

complaints and does not set forth all of my knowledge about this matter.

 PROBABLE CAUSE TO BELIEVE THAT A FEDERAL CRIME WAS COMMITTED

                                 Overview of the Conspiracy

       6.     Beginning by at least 2019 and continuing through at least April 2021, in the

District of Massachusetts and elsewhere, AGUIAR conspired with others known and unknown to

create fraudulent driver accounts with multiple rideshare and delivery companies (the

“Rideshare/Delivery Companies”), and to rent or sell the accounts to individuals who might not

otherwise qualify to drive for those services. The evidence I have reviewed indicates that the

scheme included the following:
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 3 of 25




               a.      Obtaining images of victims’ driver’s licenses, or the information on

       victims’ driver’s licenses, and Social Security Numbers, from various sources including

       the DarkNet1;

               b.      Creating accounts to drive for the Rideshare/Delivery Companies using

       those stolen identifiers;

               c.      Renting or selling those accounts, including to people who might not

       otherwise qualify to drive for the Rideshare/Delivery Companies;

               d.      Coordinating on prices charged to rent and sell accounts so as not to

       undercut each other’s business;

               e.      Sharing tips on how to circumvent the Rideshare/Delivery Companies’

       fraud detection systems;

               f.      Causing the Rideshare/Delivery Companies to generate Internal Revenue

       Service Forms 1099 in the names of identity theft victims for income they never earned

       from the Rideshare/Delivery Companies, and attempting to divert those Forms 1099 from

       being sent to the victims;

               g.      Using driver accounts for the purpose of referring other drivers to the

       Rideshare/Delivery Companies, and then collecting referral bonuses from the companies

       for additional fake accounts that the conspirators created;




       1
          The DarkNet is part of the Internet that is not indexed and consists of overlaying networks
that use the public Internet but require unique software, configuration, or authorization to access,
which is predominately designed to hide the identity of the user. Payment for goods and services
on the DarkNet is usually through virtual currency like bitcoin, which is also designed to be
anonymous.
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 4 of 25




               h.      Utilizing global positioning system (“GPS”) “spoofing” applications to “cut

       the line” for rides or deliveries, or to make it appear that trips were longer than they actually

       were, in order to obtain increased fares from the Rideshare/Delivery Companies, and

       selling this technology to clients.

       7.      To date, investigators have identified more than 2,000 individuals whose identities

were stolen and used as part of the scheme.

                      Background on the Rideshare/Delivery Companies

       8.      Rideshare Company A is a ride-hailing company that connects drivers with riders

via a mobile phone application (“app”). To become a driver for Rideshare Company A in

Massachusetts, applicants must be at least 21 years old, have at least one year of driving history

(three years if under age 23), and pass a motor vehicle and criminal background check. Drivers

apply through Rideshare Company A’s app or its website and provide, among other things, their

name, date of birth, Social Security number, an image of their driver’s license, automobile

registration and insurance information, and a profile photo. Drivers must also pass a separate

background check run by the Massachusetts Department of Public Utilities (“DPU”). Rideshare

Company A stores the information applicants enter on servers which are located outside the

District of Massachusetts.

       9.      Delivery Company B is an online food ordering and delivery service. To become

a driver for Delivery Company B in Massachusetts, drivers applying to deliver via automobile

must be at least 18 years old, have at least one year of driving history, and pass a motor vehicle

and criminal background check.2 Drivers apply through Delivery Company B’s app or its website



       2
         Some of the Delivery Companies allow drivers to deliver via bicycle or on foot in certain
locations.
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 5 of 25




and provide, among other things, their name, date of birth, Social Security number, and profile

photo. Drivers applying to deliver via automobile must also provide an image of their driver’s

license. Delivery Company B stores the information applicants enter on servers which are located

outside the District of Massachusetts.

       10.     Rideshare Company C is a ride-hailing company that connects drivers with riders

via a mobile phone app. To become a driver for Rideshare Company C in Massachusetts,

applicants must be at least 25 years old, possess a valid driver’s license, Social Security number,

and vehicle insurance, have at least one year of driving history, and pass a motor vehicle and

criminal background check. Drivers apply through Rideshare Company C’s app or its website and

provide, among other things, their name, date of birth, Social Security number, an image of their

driver’s license, their automobile insurance information, and a photo of themselves (“selfie”).

Drivers must also pass a separate background check run by the DPU. Rideshare Company C stores

the information applicants enter on servers located outside the District of Massachusetts and

operated by Amazon Web Services.

       11.     Delivery Company D is an online food ordering and delivery platform. To become

a driver for Delivery Company D in Massachusetts, drivers applying to deliver via automobile

must be at least 18 years old, have a valid Social Security number, and pass a motor vehicle and

criminal background check. Drivers apply through Delivery Company D’s website and provide,

among other things, their name, date of birth, and Social Security number. Drivers applying to

deliver via automobile must also provide their driver’s license number (but not an image of their

license). Delivery Company D stores the information applicants enter on servers located outside

the District of Massachusetts and operated by Amazon Web Services.
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 6 of 25




       12.     Delivery Company E is an online grocery delivery and pick-up service platform.

To become a driver for Delivery Company E in Massachusetts, drivers must be at least 18 years

old and pass a motor vehicle and criminal background check. Drivers apply through Delivery

Company E’s website and provide, among other things, their name, date of birth, Social Security

number, image of their driver’s license, and a “selfie” photo. Delivery Company E stores the

information applicants enter on servers located outside the District of Massachusetts and operated

by Amazon Web Services.

       13.     When a driver account is opened, the Rideshare/Delivery Companies generally

collect metadata concerning, among other things, the device used to open the account, its location,

the IP address used to submit the applicant’s information, and whether the account was referred

by another driver.

       14.     Each of the Rideshare/Delivery Companies uses a third-party company to complete

the motor vehicle and criminal background check on driver applicants. This company runs the

motor vehicle and criminal background check based on the name, date of birth, and Social Security

number provided by the driver applicant.

       15.     The DPU also completes a two-part background check for rideshare drivers in

Massachusetts. The DPU runs its background check based on the name, date of birth, driver’s

license number, and last six digits of the Social Security number provided to Rideshare Company

A and Rideshare Company C by the driver applicant. The DPU completes follow-up background

checks on all Rideshare Company A and Rideshare Company B drivers in Massachusetts every

six months based on this same information.
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 7 of 25




       16.      None of the Rideshare/Delivery Companies requires that the vehicles used for rides

or deliveries be registered to the driver. It is not uncommon for drivers to use a vehicle registered

to someone else.

       17.      The Rideshare/Delivery Companies occasionally offer referral bonuses depending

on market conditions. To earn a referral bonus, existing drivers who are in good standing can refer

another person to become a driver for the company. Once the referred driver completes a set

number of trips, which varies by company and market, the referring driver (and, at some

companies, the referred driver) can earn a bonus. The amount of the bonus depends on the

company and the market and can be greater than $1,000.

       18.      One way that the Rideshare/Delivery Companies pay their drivers is via direct

deposit.3 Payments generally, but not always, appear on bank statements with the name of the

driver who purportedly completed the trip or delivery.

                                WEMERSON DUTRA AGUIAR

       19.      The investigation has revealed that, as part of the scheme, AGUIAR rented and sold

fraudulent driver accounts; prepared and submitted driver applications using fraudulent identifiers;

rented his own vehicles to drivers to use while driving under fraudulent accounts; purchased and

traded driver’s licenses and Social Security numbers; and exchanged information with other co-

conspirators on how to circumvent the Rideshare/Delivery Companies’ fraud detection systems.

       20.      For example, on or about November 23, 2019, a driver account in the name of

Victim 1 (“Account 1”) was created with Rideshare Company A using an Apple iPhone, on the

Sprint mobile network, from a location having latitude 42.4742431640625 and longitude




       3
           Some of the companies also offer a debit card option for payment.
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 8 of 25




-70.95612752697879, which is in the vicinity of an apartment complex at 196 Locust Street in

Lynn, Massachusetts. The account appears to have been set up using Victim 1’s name, Social

Security number, and driver’s license, but the photo on the driver’s license was of another

individual, Co-Conspirator 1 (“CC-1”). The vehicle associated with Account 1 in Rideshare

Company A’s system was registered in the name of CC-1, and the bank account linked to Account

1 was a Bank of America account in the name of CC-1. Between December 7, 2019 and December

18, 2019, 38 trips were completed using Victim 1’s identity before Rideshare Company A closed

Account 1 for suspected fraud.

       21.     Metadata associated with the Apple iPhone used to create Account 1 matches

metadata linked to (a) an Apple iCloud account with Apple ID “wemersondutra@icloud.org” (the

“AGUIAR iCloud Account”), which is registered to AGUIAR at 196 Locust Street, Apt. 207,

Lynn, Massachusetts, and (b) the AGUIAR TELEPHONE, which is registered to a subscriber

whose last name matches the last name of AGUIAR’S then-domestic partner and is associated

with AGUIAR’S iCloud Account and with a Zelle account used by AGUIAR.4 Based on my

investigation, I am aware that until February 2021, AGUIAR resided at the Locust Street address.

In addition, Rideshare Company A’s records reflect a rider account in AGUIAR’s own name that

had pick-ups at or near 196 Locust Street.

       22.     I have reviewed the AGUIAR iCloud Account pursuant to a Court-authorized

search warrant. Among other items, I located an image of Victim 1’s driver’s license, altered to

reflect CC-1’s picture—the same image that was submitted to Rideshare Company A in connection




       4
        Zelle is a digital payment network owned by a group of banks, including Bank of America
and Wells Fargo, among others. Zelle allows users to send and receive money, typically over a
mobile device, directly from their bank accounts at participating banks.
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 9 of 25




with Account 1. I have also reviewed WhatsApp chats between AGUIAR and CC-1 discussing

Account 1, which appears to have been created after Rideshare Company B suspended a driver

account in the name of another victim that CC-1 was using.5

       23.     Location data Rideshare Company A collected indicates that multiple other

suspected fraudulent accounts were likewise created in the vicinity of 196 Locust Street, and

metadata from Rideshare Company A’s records reflect that the individual or individuals who set

up Account 1 were also associated with hundreds of other driver accounts.

       24.     AGUIAR’s picture appears to be “Photoshopped” onto the driver’s licenses of at

least three different fraudulent driver accounts with Rideshare Company A that were created in the

vicinity of 196 Locust Street. In total, investigators have identified at least nine driver accounts,

in different names, with AGUIAR’s picture on the driver’s license (the “AGUIAR Accounts”).

The vehicle associated with each of these Accounts is registered to AGUIAR.6 In total, Rideshare

Company A identified more than 180 other driver accounts linked to the same device that created

Account 1 and the AGUIAR Accounts.

       25.     Based on my investigation, including review of summary draft translations of

WhatsApp chats between AGUIAR and others, I am aware that AGUIAR was not driving under




       5
         WhatsApp is a text messaging application that provides users with end-to-end encryption,
which means that a WhatsApp message is visible only to the sender and receiver of the message.
WhatsApp also allows users to send and receive voice recordings. WhatsApp users typically use
their phone number as their WhatsApp account number to send and receive messages through the
application.
       6
          Based on my investigation, I am aware that AGUIAR does not have a valid Massachusetts
driver’s license. However, in Massachusetts, residents are allowed to register vehicles without a
driver’s license.
       Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 10 of 25




each of the AGUIAR accounts, but rather was renting some of the accounts to other drivers,

including CC-1.7

       26.     For example, AGUIAR was a member of several WhatsApp chat groups targeted

to Brazilian nationals residing in Massachusetts. AGUIAR regularly posted in these chats that he

had rideshare and delivery accounts for sale or rent. For example, on or about April 20, 2020,

AGUIAR posted a message in a chat with hundreds of other members advertising male and female

accounts with Delivery Company D for a “good price.” AGUIAR posted a similar message on or

about September 24, 2020.

       27.     In addition to the aforementioned chats, the records from the AGUIAR iCloud

Account obtained pursuant to a Court-authorized search warrant include hundreds of WhatsApp

chats, all in Portuguese, in which AGUIAR corresponded with individuals seeking to rent or buy

driver accounts. As detailed further herein, the AGUIAR iCloud Account also included WhatsApp

messages with co-conspirators discussing the creation of driver accounts and ways to secure such

accounts by circumventing fraud prevention controls imposed by the Rideshare/Delivery

Companies. Further, the iCloud Account contained thousands of images of driver’s licenses, as

well as lists of names and Social Security Numbers.

       28.     In reviewing the hundreds of suspected fraudulent accounts associated with

Account 1 and the AGUIAR Accounts, investigators discovered that many of the driver’s license

images are stock photos that were altered to insert different license images. For example, many of

the photos show the altered driver’s license resting on a wallet. It appears that the same




       7
          Many of the WhatsApp communications I have reviewed were summaries of draft
translations of messages written in Portuguese.
          Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 11 of 25




background image was used in each of the photos, and the images were edited to make it appear

as though different driver’s licenses were resting on the wallet. Rideshare Company A identified

more than 30 driver accounts that appear to use the identical image of a driver’s license resting on

a wallet, but with different driver’s licenses inserted into the image. Some of these accounts were

linked to AGUIAR because the device used to open the account had the same device identifiers as

Account 1 and the AGUIAR accounts.

       29.      Based on my review of draft summary translations of WhatsApp chats between

AGUIAR and various co-conspirators, I have learned that the conspirators had templates of various

states’ driver’s licenses, in which they edited victims’ information and customers’ photos. For

example, on or about October 22, 2019, Co-Conspirator 2 (“CC-2”) told AGUIAR via WhatsApp

that he had obtained more than 50 driver’s licenses, and shared a photo of a printout containing

victims’ names, dates of birth, addresses, and driver’s license numbers, but without the images of

any licenses.

       30.      I reviewed additional WhatsApp text and voice messages in which AGUIAR and

CC-2 discussed driver applications for the Rideshare/Delivery Companies in the names of other

people, as well as payments, including referral bonuses, and ways to launder money. The

messages, which are in Portuguese, began in or about October 2019 and include images of driver’s

licenses, as well as screen shots and video captures of AGUIAR’s and CC-2’s computers and

phones.

       31.      For example, in or about October 2019, CC-2 sent AGUIAR messages indicating,

in substance, that he wished to find someone new to make driver’s license alterations and discussed

options with CC-2.
       Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 12 of 25




       32.     In other chats, CC-2 and AGUIAR sought to troubleshoot issues raised by drivers

who had been asked for further identification by the Rideshare/Delivery Companies and/or whose

accounts had been suspended or closed. In one set of chats, on or about October 17, 2019,

AGUIAR sent CC-2 a photograph showing that a driver had been asked for a Social Security

number while attempting to log into the app. CC-2 replied to AGUIAR with a photograph

identifying a Social Security number. Other chats concerned account closings, which AGUIAR

and CC-2 speculated were attributable to their use of fraudulent documents.

       33.     In another set of chats in October 2019, AGUIAR asked CC-2 to alter the insurance

policy document for Co-Conspirator 3 (“CC-3”) on an account so that it listed a different vehicle.

CC-2 responded with an image of an insurance policy document listing the other vehicle.

       34.     AGUIAR also discussed referral bonuses with CC-2. For example, in a chat

between AGUIAR and CC-2 on or about October 15, 2019, CC-2 sent AGUIAR a photo of his

phone showing the status of potential referral bonuses. The image below, from which victims’

names have been redacted, shows that CC-2 had seven referred accounts pending, the number of

trips each referred driver needed to complete in order to secure the referral bonus, and the amount

of the bonus to be earned:
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 13 of 25




       35.     AGUIAR also discussed account creation with CC-2 in WhatsApp chats. For

example, on or about April 23, 2020, AGUIAR sent CC-2 a photograph of a man (“Subject 1”) in

front of a white background. Approximately 21 hours later, AGUIAR sent CC-2 a photo of a hand

holding a driver’s license bearing the name and photograph of Victim 2. Approximately 13

minutes later, CC-2 sent AGUIAR a photograph of his computer screen that appears to be opened

to Adobe Photoshop and shows the same image of Victim 2’s driver’s license, but now bearing

the photo of Subject 1.

       36.     In my review of the AGUIAR iCloud account, I found other, similar exchanges

between AGUIAR and CC-2 involving manipulated identity documents. In other instances, CC-

2 sent AGUIAR screen shots of his computer in which he appears to be browsing DarkNet sites to

purchase identification cards. For example, on or about November 8, 2019, CC-2 sent AGUIAR

the following photo of his computer screen, which appears to depict a DarkNet site selling

passports, visas, and other forms of identification:
       Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 14 of 25




       37.     In another instance, on or about August 4, 2020, CC-2 sent AGUIAR a screen shot

of what appears to be the photo gallery on his phone, in which a number of driver’s license images

are visible. I have likewise found thousands of photos of victims’ driver’s licenses saved in the

AGUIAR iCloud Account.

       38.     During my review of the AGUIAR iCloud Account, I also found images CC-2 sent

to AGUIAR of CC-2’s computer screen opened to his Hotmail email account. The images depict

emails from Delivery Company E and the background check company. The emails reference

applications to drive for Delivery Company E and pending background checks on individuals other

than CC-2. Other images depict emails with attachments that are pictures of the front and back of

driver’s licenses and passport-type photos. Other images contain what appear to be Social Security

numbers.

       39.     I have reviewed a bank account in AGUIAR’s name at Bank of America. The

address associated with the account is 196 Locust Street, Apt. 207, Lynn, Massachusetts. Between

on or about June 27, 2019 and on or about February 26, 2020, approximately $150,000 was

deposited into AGUIAR’s Bank of America account. Zelle transfers accounted for approximately

$100,000 of that amount, and payments from Rideshare Company A and Rideshare Company B

for completed rides accounted for approximately $37,000. I have also reviewed an account in

AGUIAR’s name at Wells Fargo bank that received deposits totaling approximately $14,000,

during the same period, principally comprising Zelle transfers and deposits from Rideshare

Company A and Rideshare Company B.

       40.     I have also reviewed statements of a Zelle account linked to the AGUIAR

TELEPHONE and the AGUIAR iCloud Account for the period between approximately July 2019
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 15 of 25




and July 2020. The account statements reflect the same transfers listed in AGUIAR’s bank

statements from Bank of America and Wells Fargo.

        41.   Between approximately July 2019 and July 2020, AGUIAR received

approximately $169,512 in Zelle transfers. AGUIAR received recurring Zelle transfers from over

100 individuals, typically in amounts between $200 to $350. Based on my knowledge of this

investigation, I believe that many of these transfers were from individuals renting or buying

fraudulent driver accounts.    For example, the records indicate that CC-1 paid AGUIAR

approximately $250 per week between on or about October 15, 2019 and on or about February 3,

2020.

        42.   I have reviewed bank records reflecting that, between approximately June 2019 and

September 2020, CC-2 received deposits into his Bank of America account totaling approximately

$216,151, primarily comprising approximately $137,158 in Zelle transfers and approximately

$16,232 in payments from Delivery Company D and from a third-party payment processor for a

number of Rideshare/Delivery Companies. The payments from Delivery Company D referenced

the names of 13 different individuals.8 CC-2 received Zelle transfers from more than 95 different

names, including approximately $40,763 from AGUIAR.

   THE PREMISES CONTAIN EVIDENCE, FRUITS, AND INSTRUMENTALITIES

        43.   I also have probable cause to believe that the Premises contains fruits, evidence,

and instrumentalities of violations of the TARGET OFFENSES, as described in Attachment B.




        8
          Of the approximately $12,482 in deposits from Delivery Company D in CC-2’s account,
none appeared to be in CC-2’s name, although deposits totaling approximately $1,694 were not
tied to any driver name.
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 16 of 25




       44.     On or about May 5, 2021, AGUIAR boarded United Airlines Flight #1246 from

Boston Logan Airport to Chicago O’Hare Airport. From there, AGUIAR had a connecting flight,

United Airlines Flight #1656, to Cancun, Mexico. I am familiar with a WhatsApp chat on or about

November 7, 2019 between AGUIAR and CC-2, in which AGUIAR explained that he intended to

leave the United States through Mexico to return to Brazil so as not to have a record of his exit

given that he had overstayed his visa.

       45.     When he was arrested, AGUIAR had in his possession a carry-on bag containing a

cell phone and laptop.

       46.     From my training, experience, and information provided to me by other agents, I

am aware that individuals frequently use computers to create and store records of their actions by

communicating about them through email, instant messages, and updates to online social

networking websites; drafting letters; keeping their calendars; arranging for travel; storing

pictures; researching topics of interest; buying and selling items online; and accessing their bank,

financial, investment, utility, and other accounts online.

       47.     Based on my training, experience, and information provided by other law

enforcement officers, I know that many cell phones (which are included in Attachment B’s

definition of “hardware”) can now function essentially as small computers.            Phones have

capabilities that include serving as a wireless telephone to make audio calls, digital camera,

portable media player, GPS navigation device, sending and receiving text messages and emails,

and storing a range and amount of electronic data. Examining data stored on devices of this type

can uncover, among other things, evidence of communications and evidence that reveals or

suggests who possessed or used the device.
       Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 17 of 25




       48.     Here, AGUIAR communicated with co-conspirators via WhatsApp and used his

phone to create driver accounts with the Rideshare/Delivery Companies.

       49.     Based on my knowledge, training, experience, and information provided to me by

other agents, I know that computer files or remnants of such files can be recovered months or years

after they have been written, downloaded, saved, deleted, or viewed locally or over the Internet.

This is true because:

               1.       Electronic files that have been downloaded to a storage medium can be

       stored for years at little or no cost. Furthermore, when users replace their computers, they

       can easily transfer the data from their old computer to their new computer.

               2.       Even after files have been deleted, they can be recovered months or years

       later using forensic tools. This is so because when a person “deletes” a file on a computer,

       the data contained in the file does not actually disappear; rather, that data remains on the

       storage medium until it is overwritten by new data, which might not occur for long periods

       of time. In addition, a computer’s operating system may also keep a record of deleted data

       in a “swap” or “recovery” file.

               3.       Wholly apart from user-generated files, computer storage media—in

       particular, computers’ internal hard drives—contain electronic evidence of how the

       computer has been used, what it has been used for, and who has used it. This evidence can

       take the form of operating system configurations, artifacts from operating system or

       application operation, file system data structures, and virtual memory “swap” or paging

       files. It is technically possible to delete this information, but computer users typically do

       not erase or delete this evidence because special software is typically required for that task.
       Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 18 of 25




               4.     Similarly, files that have been viewed over the Internet are sometimes

       automatically downloaded into a temporary Internet directory or “cache.” The browser

       often maintains a fixed amount of hard drive space devoted to these files, and the files are

       overwritten only as they are replaced with more recently viewed Internet pages or if a user

       takes steps to delete them.

               5.     Data on a storage medium can provide evidence of a file that was once on

       the storage medium but has since been deleted or edited, or of a deleted portion of a file

       (such as a paragraph that has been deleted from a word processing file). Virtual memory

       paging systems can leave traces of information on the storage medium that show what tasks

       and processes were recently active. Web browsers, email programs, and chat programs

       store configuration information on the storage medium that can reveal information such as

       online nicknames and passwords. Operating systems can record additional information,

       such as the attachment of peripherals, the attachment of USB flash storage devices or other

       external storage media, and the times the computer was in use. Computer file systems can

       record information about the dates files were created and the sequence in which they were

       created, although this information can later be falsified.

       50.     As explained herein, information stored within a computer and other electronic

storage media may provide crucial evidence of the “who, what, why, when, where, and how” of

the criminal conduct under investigation, thus enabling the United States to establish and prove

each element or alternatively, to exclude the innocent from further suspicion. In my training and

experience, information stored within a computer or storage media (e.g., registry information,

communications, images and movies, transactional information, records of session times and

durations, Internet history, and anti-virus, spyware, and malware detection programs) can indicate
       Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 19 of 25




who has used or controlled the computer or storage media. This “user attribution” evidence is

analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.

The existence or absence of anti-virus, spyware, and malware detection programs may indicate

whether the computer was remotely accessed, thus inculpating or exculpating the computer owner.

Further, computer and storage media activity can indicate how and when the computer or storage

media was accessed or used. For example, as described herein, computers typically contain

information that log: computer user account session times and durations, computer activity

associated with user accounts, electronic storage media that connected with the computer, and the

IP addresses through which the computer accessed networks and the Internet. Such information

allows investigators to understand the chronological context of computer or electronic storage

media access, use, and events relating to the crimes under investigation. Additionally, some

information stored within a computer or electronic storage media may provide crucial evidence

relating to the physical location of other evidence and the suspect. For example, images stored on

a computer may both show a particular location and have geolocation information incorporated

into its file data. Such file data typically also contains information indicating when the file or

image was created. The existence of such image files, along with external device connection logs,

may also indicate the presence of additional electronic storage media (e.g., a digital camera or

cellular phone with an incorporated camera). The geographic and timeline information described

herein may either inculpate or exculpate the computer user. Last, information stored within a

computer may provide relevant insight into the computer user’s state of mind as it relates to the

offense under investigation. For example, information within the computer may indicate the

owner’s motive and intent to commit a crime (e.g., Internet searches indicating criminal planning),



                                                19
       Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 20 of 25




or consciousness of guilt (e.g., running a “wiping” program to destroy evidence on the computer

or password protecting/encrypting such evidence in an effort to conceal it from law enforcement).

       51.     A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how computers

were used, the purpose of their use, who used them, and when.

       52.     The process of identifying the exact files, blocks, registry entries, logs, or other

forms of forensic evidence on a storage medium that are necessary to draw an accurate conclusion

is a dynamic process. While it is possible to specify in advance the records to be sought, computer

evidence is not always data that can be merely reviewed by a review team and passed along to

investigators. Whether data stored on a computer is evidence may depend on other information

stored on the computer and the application of knowledge about how a computer behaves.

Therefore, contextual information necessary to understand other evidence also falls within the

scope of the warrant.

       53.     Further, in finding evidence of how a computer was used, the purpose of its use,

who used it, and when, sometimes it is necessary to establish that a particular thing is not present

on a storage medium. For example, the presence or absence of counter-forensic programs or anti-

virus programs (and associated data) may be relevant to establishing the user’s intent.

       54.     Based on my knowledge and training and the experience of other agents with whom

I have spoken, I am aware that to completely and accurately retrieve data maintained in computer

hardware, computer software or storage media, to ensure the accuracy and completeness of such

data, and to prevent the loss of the data either from accidental or programmed destruction, it is

often necessary that computer hardware, computer software, and storage media (“computer



                                                20
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 21 of 25




equipment”) be seized and subsequently processed by a computer specialist in a laboratory setting

rather than in the location where it is seized. This is true because of:

               a.      The volume of evidence that storage media such as hard disks, flash drives,

       CDs, and DVDs can store is the equivalent of thousands or, in some instances, millions of

       pages of information. Additionally, a user may seek to conceal evidence by storing it in

       random order or with deceptive file names. Searching authorities may need to examine all

       the stored data to determine which particular files are evidence, fruits, or instrumentalities

       of criminal activity. This process can take weeks or months, depending on the volume of

       data stored, and it would be impractical to attempt this analysis onsite.

               b.      Technical requirements analyzing computer hardware, computer software

       or storage media for criminal evidence is a highly technical process requiring expertise and

       a properly controlled environment. The vast array of computer hardware and software

       available requires even computer experts to specialize in some systems and applications.

       Thus, it is difficult to know, before the search, which expert possesses sufficient specialized

       skill to best analyze the system and its data. Furthermore, data analysis protocols are

       exacting procedures, designed to protect the integrity of the evidence and to recover even

       “hidden,” deleted, compressed, or encrypted files. Many commercial computer software

       programs also save data in unique formats that are not conducive to standard data searches.

       Additionally, computer evidence is extremely vulnerable to tampering or destruction, both

       from external sources and destructive code imbedded in the system as a “booby trap.”

Consequently, law enforcement agents may either copy the data at the premises to be searched or

seize the computer equipment for subsequent processing elsewhere.



                                                 21
          Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 22 of 25




          55.   The Premises may contain computer equipment whose use in the crimes or storage

of the things described in this warrant is impractical to determine at the scene. Computer

equipment and data can be disguised, mislabeled, or used without the owner’s knowledge. In

addition, technical, time, safety, or other constraints can prevent definitive determination of their

ownership at the premises during the execution of this warrant. If the things described in

Attachment B are of the type that might be found on any of the computer equipment, this

application seeks permission to search and seize it onsite or off-site to determine their true use or

contents, regardless of how the contents or ownership appear or are described by people at the

scene of the search.

          56.   The law enforcement agents will endeavor to search and seize only the computer

equipment which, upon reasonable inspection and/or investigation conducted during the execution

of the search, reasonably appear to contain the evidence in Attachment B because they are

associated with (that is used by or belong to) AGUIAR. If, however, the law enforcement agents

cannot make a determination as to use or ownership regarding any particular device, the law

enforcement agents will seize and search that device pursuant to the probable cause established

herein.

          57.   This warrant authorizes a review of electronically stored information,

communications, other records, and information seized, copied or disclosed pursuant to this

warrant to locate evidence, fruits, and instrumentalities described in this warrant. The review of

this electronic data may be conducted by any government personnel assisting in the investigation,

who may include, in addition to law enforcement officers and agents, attorneys for the government,

attorney support staff, and technical experts. Pursuant to this warrant, the FBI may deliver a



                                                 22
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 23 of 25




complete copy of the seized, copied, or disclosed electronic data to the custody and control of

attorneys for the government and their support staff for their independent review.

                UNLOCKING A DEVICE USING BIOMETRIC FEATURES

       58.     I know from my training and experience, as well as from information found in

publicly available materials, that some models of cellphones made by Apple and other

manufacturers offer their users the ability to unlock a device via the use of a fingerprint or through

facial recognition, in lieu of a numeric or alphanumeric passcode or password.

       59.     On the Apple devices that have this feature, the fingerprint unlocking feature is

called Touch ID. If a user enables Touch ID on a given Apple device, he or she can register up to

five fingerprints that can be used to unlock that device. The user can then use any of the registered

fingerprints to unlock the device by pressing the relevant finger(s) to the device’s Touch ID sensor.

In some circumstances, a fingerprint cannot be used to unlock a device that has Touch ID enabled,

and a passcode must be used instead, such as: (1) when more than 48 hours has passed since the

last time the device was unlocked and (2) when the device has not been unlocked via Touch ID in

8 hours and the passcode or password has not been entered in the last 6 days. Thus, in the event

law enforcement encounters a locked Apple device, the opportunity to unlock the device via Touch

ID exists only for a short time. Touch ID also will not work to unlock the device if (1) the device

has been turned off or restarted; (2) the device has received a remote lock command; or (3) five

unsuccessful attempts to unlock the device via Touch ID are made.

       60.     The passcode that would unlock device(s) found during the search of the Subject

Premises is not currently known to law enforcement. Thus, it may be useful to press the finger(s)

of the user(s) of the device(s) to the device’s fingerprint sensor or to hold the device up to the face

of the owner in an attempt to unlock the device for the purpose of executing the search authorized

                                                  23
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 24 of 25




by this warrant. The government may not otherwise be able to access the data contained on those

devices for the purpose of executing the search authorized by this warrant.

       61.     In my training and experience, the person who is in possession of a device or has

the device among his or her belongings at the time the device is found is likely a user of the device.

However, in my training and experience, that person may not be the only user of the device whose

fingerprints are among those that will unlock the device and it is also possible that the person in

whose possession the device is found is not actually a user of that device at all. Furthermore, in

my training and experience, I know that in some cases it may not be possible to know with certainty

who is the user of a given device, such as if the device is found in a common area of a premises

without any identifying information on the exterior of the device. Thus, it may be necessary for

law enforcement to have the ability to require any occupant of the Subject Premises to press their

finger(s) against the sensor of the locked device(s) or place the devices in front of their faces in

order to attempt to identify the device’s user(s) and unlock the device(s).

       62.     For these reasons, I request that the Court authorize law enforcement to press the

fingers (including thumbs) of AGUIAR to the sensor of the devices or place the devices in front

of his face for the purpose of attempting to unlock the device to search the contents as authorized

by this warrant.




                                                 24
        Case 1:21-cr-10158-MLW Document 1-1 Filed 05/05/21 Page 25 of 25




                                          CONCLUSION

       63.     Based on my knowledge, training, and experience, and the facts set forth in this

affidavit, I respectfully submit that there is probable cause to believe that AGUIAR conspired to

commit wire fraud, in violation of 18 U.S.C. § 1349.

       64.     Based on my training and experience and the facts set forth above, I believe there

is also probable cause to believe that evidence, fruits, and instrumentalities of these crimes, as

described in Attachment B, are contained within the premises described in Attachment A.

       Sworn to under the pains and penalties of perjury,


                                                      ____________________
                                                      Terrence Dupont
                                                      Special Agent
                                                      Federal Bureau of Investigation




Subscribed and sworn to before me on May 5, 2021 by telephone

___________________________________________
Hon. Judith G. Dein
United States Magistrate Judge




                                                 25
